                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN (DUBUQUE) DIVISION

      UNITED STATES OF AMERICA,                      )
                                                     )
                     Plaintiff,                      )    No. 06-CR-1020-LRR
                                                     )
               vs.                                   )
                                                     )
      TERRY TERRELL SAMUELS,                         )
                                                     )
                     Defendant.                      )


           RESPONSE TO DEFENDANT’S SUPPLEMENTAL MOTION FOR
            REDUCED SENTENCE PURSUANT TO THE FIRST STEP ACT

           The United States files its response to defendant’s motion for reduced

     sentence pursuant to Section 404 of the First Step Act, Public Law 115-391, 132

     Stat 5194 (2018) (“First Step Act”). For the reasons stated below, defendant is not

     eligible for relief, and the Court should deny the motion.

I.         DEFENDANT’S CONVICTION AND SENTENCE

           In June 2007, defendant Terry Samuels was convicted, after a jury trial, of

     both counts of the Indictment filed on May 25, 2006. (PSR ¶¶ 1, 5). Each count

     charged the distribution of crack cocaine, within 1,000 feet of a protected location,

     after two or more prior drug felony convictions, in violation of 21 U.S.C. §§

     841(a)(1), 851, and 860.1 (Docket 1).




           1 Count 1 involved 20.24 grams of crack cocaine, and Count 2 involved 19.35
     grams of crack cocaine. (Docket 1). However, as outlined below, because of the
     protected location and the multiple enhancements under 21 U.S.C. § 851, the drug
     quantity is irrelevant to the question of whether defendant is eligible for relief.


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               Pursuant to 21 U.S.C. §§ 841(b)(1)(A), 851, and 860, defendant faced a

      mandatory life sentence on each count. In November 2007, the Court sentenced

      defendant to concurrent terms of life imprisonment. (Docket 72).

               Defendant filed a pro se motion for relief under the First Step Act on January

      11, 2019. (Docket 116). On January 16, 2020, defense counsel filed a supplemental

      motion on defendant’s behalf. (Docket 128). On January 17, 2020, the Court

      ordered the government to respond to defendant’s supplemental motion. (Docket

      129).

II.            THE FIRST STEP ACT

               The First Step Act, enacted on December 21, 2018, authorizes retroactive

      application of part of the Fair Sentencing Act of 2010 (“FSA 2010”) to certain

      defendants. Specifically, Section 404 of the First Step Act provides that “[a] court

      that imposed a sentence for a covered offense may . . . impose a reduced sentence as

      if sections 2 and 3 of the Fair Sentencing Act of 2010 (Public Law 111–220; 124

      Stat. 2372) were in effect at the time the covered offense was committed.” Section

      404, Public Law 115-391, 132 Stat. 5194 (2018) (hereinafter cited as “First Step

      Act”).

               Defendant focuses on Section 2 of the FSA 2010.2 Section 2 of the FSA 2010

      increased the quantity of cocaine base, commonly called crack cocaine, necessary to




               Section 3 of the FSA 2010 eliminated the provision in 21 U.S.C. § 844(a)
               2

      which had imposed a five-year mandatory minimum sentence for simple possession
      of five grams or more of crack cocaine. Defendant was not convicted of simple
      possession.


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       trigger mandatory minimum sentences under 21 U.S.C. §§ 841(b)(1)(A) and

       841(b)(1)(B), as follows:

                            Statutory Penalties3           Crack cocaine     Crack cocaine
                                                           quantity pre-     quantity post-
                                                           FSA 2010          FSA 2010
                            10 years – life
        841(b)(1)(A)        20 years – life [single 851]      50 grams          280 grams
                            Mandatory life [double 851]
                            5 years – 40 years
        841(b)(1)(B)        10 years – life [single 851]       5 grams           28 grams
                            10 years – life [double 851]

             Finally, assuming that a defendant is eligible for relief, the First Step Act

       makes a reduced sentence entirely discretionary, noting that “[n]othing in this

       section shall be construed to require a court to reduce any sentence pursuant to this

       section.” Section 404(c), First Step Act. In determining whether the Court should

       grant a sentence reduction to an eligible defendant, the Court may consider the

       presentence report and should assess the ordinary considerations pertinent to

       sentencing as set forth in 18 U.S.C. § 3553(a). In addition, under Pepper v. United

       States, 562 U.S. 476 (2011), the Court may consider post-offense conduct, either

       positive or negative, in assessing whether to adjust a previously imposed sentence.

III.         DEFENDANT’S MANDATORY LIFE SENTENCE WAS NOT
             ERRONEOUS

             Defendant questions whether his mandatory life sentence was erroneous,

       noting that “[h]is drug quantity did not require life, even under the old 100:1 crack




             3 The FSA 2010 did not change any of the statutory penalties found under 21
       U.S.C. § 841. Instead, it only changed the amount of crack cocaine necessary to
       trigger those penalties.


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penalties or drug recidivist enhancements.” (Dockett 128 at 1). Defendant argues

that, regardless, “his statutory range today has certainly changed post-FSA.”

(Docket 128 at 5). Defendant is incorrect that his conviction did not require a life

sentence, and this misunderstanding serves as the basis for defendant’s erroneous

claim that his statutory range would have changed after the FSA 2010 was in effect.

Therefore, before turning to defendant’s eligibility under the First Step Act, the

government first responds to defendant’s claim that he should not have been subject

to a mandatory life sentence.

      Defendant was convicted of the distribution of crack cocaine within 1,000 feet

of a protected location, in violation of 21 U.S.C. §§ 841(a)(1) and 860. The

government filed a notice of multiple prior felony drug convictions pursuant to 21

U.S.C. § 851. At the time of defendant’s sentencing, 21 U.S.C. § 841(b)(1)(A)

provided, in part:

      If any person commits a violation of this subsection, or of section 849, 859,
      860, or 861 of this title after two or more prior convictions for a felony drug
      offense have become final, such person shall be sentenced to a mandatory
      term of life imprisonment without release[.]

21 U.S.C. § 841(b)(1)(A) (2007) (emphasis added). Therefore, 21 U.S.C.

§ 841(b)(1)(A) specifically provided for a mandatory minimum of life imprisonment

for a violation of § 860 after two or more prior felony drug convictions.

      Indeed, the Eighth Circuit Court of Appeals has recognized that the crime of

distribution of a controlled substance within 1,000 feet of a protected location, after

two or more prior felony drug convictions, was punishable by a mandatory life

sentence, regardless of the drug quantity. See United States v. Ford, 642 F. App’x



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      637, No. 14-3437 (8th Cir. Apr. 28, 2016) (unpublished). The statutory language

      cited above did not change until the First Step Act was enacted in late 2018.

      Therefore, at the time of defendant’s sentencing, he was subject to a mandatory life

      sentence on each count.4

IV.         DEFENDANT IS NOT ELIGIBLE FOR RELIEF BECAUSE HE
            WAS NOT CONVICTED OF A “COVERED OFFENSE”

            Not all defendants who were convicted of a crack cocaine offense are eligible

      for a reduction under the First Step Act. The First Step Act authorizes courts to

      “impose a reduced sentence as if [the increased crack cocaine thresholds set forth in

      section 2 of the FSA 2010] were in effect at the time the covered offense was

      committed.” Section 404(b), First Step Act. Therefore, as an initial matter, Section

      404 of the First Step Act does not permit a court to reduce a sentence unless the

      defendant was convicted of a “covered offense”

            A “covered offense” is defined as “a violation of a Federal criminal statute, the

      statutory penalties for which were modified by section 2 or 3 of the Fair Sentencing

      Act of 2010 . . . that was committed before August 3, 2010.” Section 404(a), First



            4  Defendant questions how he could be subject to any penalties contained in
      § 841(b)(1)(A), because he was not charged with violating that section. (Docket 128
      at 2, n.2). Indeed, defendant was convicted of violating 21 U.S.C. § 860, after two or
      more prior convictions. The penalty for such a violation is, however, found in
      § 841(b)(1)(A). In Ford, the Eighth Circuit noted that the mandatory life sentence
      under § 841(b)(1)(A) applied even though “Ford was not charged under
      § 841(b)(1)(A).” Ford, 642 F. App’x at 640. In its notice of enhanced penalties, filed
      pursuant to § 851, the government advised defendant that, “pursuant to 21 U.S.C.
      §§ 841(b)(1)(A), 860(a), and 851,” Counts 1 and 2 were each punishable by a
      mandatory life sentence. (Docket 32 at 2). Therefore, as in Ford, “[t]he government
      properly notified [defendant] that it would be seeking [the mandatory life sentence]”
      under § 841(b)(1)(A). Ford, 642 F. App’x at 640.


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Step Act of 2018. Neither Count 1 nor Count 2 of the Indictment fit within this

definition, because their applicable statutory penalties were not “modified by

section 2 or 3 of the Fair Sentencing Act of 2010.” Id.

      As set forth above, both counts were subject to a mandatory life sentence.

They are “covered offenses” only if the statutory range (mandatory life) would have

been “modified by section 2 or 3” of the FSA 2010. Section 3 is not applicable

because defendant was not convicted of simple possession. Section 2 of the FSA

2010 does not provide an avenue for relief, because it changed only the drug

quantity threshold necessary to trigger the statutory penalties set forth in

§ 841(b)(1)(A), and did not alter the penalties themselves. In defendant’s case, the

new drug quantity thresholds set forth in the FSA 2010 were irrelevant to the

determination of the statutory penalty range, because mandatory life was required

based only on defendant’s prior record and the protected location. Simply put, the

FSA 2010 did not amend the portion of Section 841(b)(1)(A) that required a

mandatory life sentence in this case, and therefore did not modify the statutory

penalty range that applied to defendant’s offense of conviction. While this is clear

from the text of the FSA 2010 itself, it is also clear from the continued application of

the mandatory life sentence in cases after the FSA 2010 was in effect. In fact, the

Ford case cited above was from 2016, six years after the FSA 2010 was in effect, and

the statutory language at issue still required a life sentence at that time.

Therefore, the FSA 2010 simply had no impact on the statutory penalty range that

applied for defendant’s convictions.




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            It is true that the mandatory minimum life sentence no longer applies today

     for a conviction of § 860 with two or more prior felony drug convictions. The First

     Step Act changed this penalty to require a mandatory minimum sentence of 25

     years, instead of life imprisonment. See 21 U.S.C. § 841(b)(1)(A); Section 401, First

     Step Act of 2018. However, this portion of the First Step Act (Section 401) was not

     made retroactive. In fact, Section 401(c) of the First Step Act specifically makes

     Section 401 applicable only to defendants who had not yet been sentenced at the

     time of the enactment of the First Step Act. See Section 401(c), First Step Act of

     2018. Defendant cannot benefit from Section 401 of the First Step Act.

            Because defendant was sentenced significantly before the enactment of the

     First Step Act, the only portion of the First Step Act potentially applicable to

     defendant is Section 404, which is the section described above retroactively applying

     the FSA 2010. Indeed, defendant does not argue that he is entitled to relief under

     Section 401 of the First Step Act, and such an argument would be frivolous. He

     seeks relief only under Section 404(b). But, as stated above, because defendant was

     not convicted of a “covered offense,” he fails to meet the eligibility criteria set forth

     under Section 404(b).

            For these reasons, defendant is not eligible for relief under Section 404(b),

     and his supplemental motion (and his pro se motion) must be denied.

V.          CONCLUSION

            Defendant’s offenses of conviction do not qualify as “covered offenses” and

     defendant is not eligible for relief. His motion should be denied without a hearing.

     See United States v. Williams, 943 F.3d 841, 843-44 (8th Cir. 2019) (holding that the


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district court is not required to hold a hearing on a motion for a reduced sentence

under Section 404(b) of the First Step Act).


                                                     Respectfully Submitted,

        CERTIFICATE OF SERVICE
                                                     PETER E. DEEGAN, JR.
                                                     United States Attorney
 I hereby certify that on January 27, 2020,
 I electronically filed the foregoing with the
 Clerk of Court using the ECF system which           By: /s/ Justin Lightfoot
 will send notification of such filing to the
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